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 4
 5   Attorney for Defendant
     Phi Vay Bui
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       ) CR. NO. S-07-0122-EJG
                                     )
13                  Plaintiff,       ) STIPULATION; ORDER
                                     ) EXONERATING BOND
14        v.                         )
                                     )
15   PHI VAY BUI,                    )
                                     )
16                  Defendant.       )
                                     )
17   _______________________________ )
18
          Defendant, Phi Vay Bui, through Christopher Haydn-Myer, Attorney
19
     At Law, and the United States of America, through Assistant U.S.
20
     Attorney Todd Leras agree as follows:
21
          Mr. Bui’s sister, Karen Bui, posted a $35,000.00 cashier’s check
22
     to the United States Clerk’s Office, and a non-secured collateral
23
     promissory note for $165,000.00 was also delivered to the clerk’s
24
     office. Mr. Bui has since pled guilty and been remanded.
25
          The parties agree that the bond for Mr. Bui is to be exonerated.
26
     Further, the $35,000.00 cashier’s check and the promissory note for
27
     $165,000.00 are to be returned to Karen Bui.
28
           Case 2:07-cr-00122-WBS Document 175 Filed 05/08/09 Page 2 of 2


 1   Dated: May 7th, 2009
 2                                          Respectfully submitted,
 3                                          /s/ Christopher Haydn-Myer
                                            ________________________________
 4                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
 5                                          Phi Vay Bui
 6
     DATED: May 7th, 2009                   /S/ Christopher Haydn-Myer for
 7                                          Todd Leras
                                            Assistant U.S. Attorney
 8
 9
10
11                                     ORDER
12        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the bond for Mr. Bui is
13   to be exonerated.      Further, the $35,000.00 cashier’s check and the
14   promissory note for $165,000.00 are to be returned to Karen Bui.
15
16    DATED: May 7, 2009
17                                          /s/ Edward J. Garcia
                                            EDWARD J. GARCIA
18                                          United States District Judge
19
20
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23
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28                                          2
